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  UNITED STATES BANKRUPTCY COURT
  DISTRICT OF NEW JERSEY

  BROEGE, NEUMANN, FISCHER & SHAVER, LLC
  Timothy P. Neumann, Esq. [TN6429]
  Geoffrey P. Neumann, Esq. [059702019]
  25 Abe Voorhees Drive
  Manasquan, New Jersey 08736
  (732) 223-8484

  Attorneys for the Debtors-in-Possession/Plaintiffs
  George Sariotis and Cindy Sariotis

  In Re:                                                       Case No.: 22-12916/MBK

  GEORGE SARIOTIS AND CINDY SARIOTIS,                          Chapter 11

      Debtors.                                                 Judge: Michael B. Kaplan



  GEORGE SARIOTIS AND CINDY SARIOTIS,

      Plaintiffs,                                              Adv. Pro. No. 22-1109

           v.

  THALIA SARIOTIS, ELLYNN WETTER and RYAN
  WETTER,

      Defendants.

                SUPPLEMENTAL CERTIFICATION OF SERVICE

1. I, Geoffrey P. Neumann, am an attorney and associate of the firm of Broege, Neumann, Fischer

& Shaver, LLC, the attorneys representing the Debtors-in Possession/Plaintiffs in this matter.

2. On April 26, 2022, I sent a copy of the documents and/or pleadings enumerated on Schedule A

appended hereto to the parties listed in Schedule B appended hereto.

3. I certify under penalty of perjury that the above documents were sent using the mode of service

indicated.
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Date: May 17, 2022
                                                        /s/ Geoffrey P. Neumann
                                                            Geoffrey P. Neumann
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                                  SCHEDULE A
 Served   Document/Pleading
   □      Notice of Motion:
   □      Supporting Certification/Application
   □      Objection to Claim
   □      Supporting Certification/
   □      Opposing Certification
   □      Proposed Order
   □      Brief/Memorandum of Law
   ◼      Summons
   ◼      Complaint
   □      Answer
   □      Answer and Counterclaim
   □      Monthly Fee Statement
   □      Fee Application
   □      Other: Copy of Federal Rule of Bankruptcy Procedure 7001-1
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                                   SCHEDULE B
 Name and Address of Party       Relationship of     Mode of Service
 Served                          Party to the Case

 Ms. Thalia Sariotis             Defendant           □ Hand-delivered
 61 Redwood Drive
 Ocean, NJ 07712                                     ◼ Regular mail
                                                     □ Certified mail/RR
                                                     □ E-mail

                                                     □ Notice of Electronic Filing (NEF)
                                                     □ Other _____________________
                                                     (As authorized by the Court or by rule.
                                                     Cite the rule if applicable.)



 Mr. Ryan Wetter                  Defendant          □ Hand-delivered
 61 Redwood Drive
 Ocean, NJ 07712                                     ◼ Regular mail
                                                     □ Certified mail/RR
                                                     □ E-mail

                                                     □ Notice of Electronic Filing (NEF)

                                                     □ Other _____________________
                                                     (As authorized by the Court or by
                                                     rule.
                                                     Cite the rule if applicable.)



 Ms. Ellynn Wetter                Defendant          □ Hand-delivered
 61 Redwood Drive
 Ocean, NJ 07712                                     ◼ Regular mail
                                                     □ Certified mail/RR

                                                     □ E-mail
                                                     □ Notice of Electronic Filing (NEF)

                                                     □ Other _____________________
                                                     (As authorized by the Court or by
                                                     rule.
                                                     Cite the rule if applicable.)
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